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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
                                MADISON DIVISION

 SUSAN K. RISTOW,

      Plaintiff,                                    Case No. 3:22-cv-00106-wmc

 v.

 CHARTER COMMUNICATIONS, INC.
 d/b/a SPECTRUM and JOHN DOES 1-
 10,Defendant.

                   STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, SUSAN K.

RISTOW and the Defendant CHARTER COMMUNICATIONS, INC. d/b/a SPECTRUM through

their respective counsel that the above-captioned action is dismissed, without prejudice, pursuant to

Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.

Dated: May 16, 2022                                Respectfully Submitted,

 SUSAN K. RISTOW                                   CHARTER COMMUNICATIONS, INC.
                                                   d/b/a SPECTRUM

 /s/ Mohammed O. Badwan                            /s/
 Mohammed O. Badwan, Esq.                          Sartouk H. Moussavi
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                                                   Counsel for Defendant
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                                CERTIFICATE OF SERVICE

        I hereby certify that I today caused a copy of the foregoing document to be electronically
filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of
record.

                                                 /s/ Mohammed O. Badwan
                                                 Mohammed O. Badwan, Esq.
